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Exhibit “C”
Case 3:24-cv-05218-TSH Document 1-3 Filed 08/16/24 Page 2 of 3

Page 1
Overdrive - Song by V$ ASAD - Apple Music
https://music.apple.com/us/album/overdrive/ 1664570183 ?i=1664570184music.apple.com

Overdrive - Single
V$ ASAD

HIP-HOP/RAP - 2023

Also available in the iTunes Store A

Other Versions

Overdrive - Single

More By VS ASAD

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Try It Free

